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 Beginning July of 2018, Susana Soto (my Caseworker), of the Oceanside Housing

 Authority in Oceanside, CA, refused my 'Reasonable Accommodation' request for the final

 inspection, that I didn't realized hadn't been rescheduled by the landlord & the OHA

 inspector, be rescheduled because the repair had been completed 1 1/2 weeks before the

 deadline date. She & Angie Hanifin (her Supervisor) blatantly refused my 'RAR' request

 that they reinstate my family's terminated voucher, a week later, because the inspection

 passed due to the OHA inspector's impromptu inspection, which she completed in order

 that it be reinstated. They refused to no matter how many times I pleaded with them to do

 so in order tor me & my son to maintain stability and the hardships a move would have on

 my hip, that was due for surgery. None of the repairs that were needed were tenant

 caused. As a result, my son (Noah) & I would spend the next 1 1/2+ years homeless and

 the majority of it separated because CPS targeted us because we were homeless. For the

 1st 5-6 months I had an extremely difficult time securing an apartment, which I didn't

 understand because it was simple the st 2 times. I happened to explain this issue with my

 Psychiatrist and she discovered I now had PTSD besides my chronic depression, which

 was caused by the severe trauma I'd suffered when my most beloved fiance suddenly died

 in my arms from an asthma attack. I had somehow managed to affect my effectiveness

 when it came to the apartment acquirement process. After a brief discussion we found out

 what area was causing me the problem. She proceeded to make a 'Reasonable

 Accommodation' request, which she addressed to Margery Pierce (the OHA Director),

 because she knew about Susana & Angie, who passed it to Angie anyway. I did figure

 Angie may be thrilled to realize there was a problem from my disability that had been the

 answer to difficulties. But to the contrary, she frowned up with the thought of having to
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having to help me, so when Judy & I went to meet with Angie for our scheduled meeting,

she presented the document to us. She explained as we read how OHA doesn't help

clients with apartment searches not is it required to along with what they are obligated to

give their clients to help them. She ultimately killed 2 RAR's with 1 stone. After informing

me how other voucher holders obtain apartments (which made me feel inferior) she went

on to tell us that since I'd need help from a 3rd party, that an extension wouldn't be

effective. She then asked about my complaint on Susana. I told her because Susana a few

things and how she had sentenced my family to homelessness for close to a year, at that

time. I told her their website had an abatement and 120 days of additional residency and

how the apartment needed to pass by that time. She strongly denied the validity of that

fact during our March of 2019 meeting, although they both remain a part of their website

currently. The only help I'd requested was for someone to make the initial call to any

perspective landlord to announce my anticipated arrival. For me to know ahead of time if

they were receptive would minimize my fear of rejection & need to remain positive.

Judy & Joanne (of The Legal Aid Society), forced them to port me out to the San Diego

County Housing Authority a few months later. They also surprised me when they handed

me a paper and told me the Veterans Villas in Escondido, CA were expecting me. I went

there and secured it on the very 1st try and I'm there currently. I am however still waiting to

be reunited with Noah. I would have had stable housing months prior if Angie wouldn't

have blatantly refused my RAR due to me being handicapped. I'm also waiting for my

blood work to come back so I can finally get the hip surgery I've needed from the time we

were forced to move out, because recovery while homeless wouldn't have worked. Keysa

was also aware & involved with the obligation to intervene in order to maintain OHA integrity.
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 Due to the 18+ months my family was affected by homelessness, the 12+ months my

 family has been torn apart, the traumatic affects homelessness & 12+ months that CPS

 custody has had on Noah, the 18+ months I've had to endure the extreme pain in my

 right hip due to postponing surgery from being homeless, the malicious intent of Angie &

 Susana to deny RAR's to be reinstated or inspection to be rescheduled to force us into

 being homeless with other options available, Angies refusal to grant 2 RAR's for an

 extension & help after finding out my disability caused my inability to effectively apartment

 search which extended my homelessness by a few additional months, etc. I'd like to be

 substantially compentsated for all of these violations of my civil rights & right to treatment.
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